 

 

 

 

 

 

 

Case: 5:19-cr- - - ‘lad:
AO 245B (Rev. waar eet 09202-DCR MAS Doc #: 30 Filed: 05/26/20 Page: 1 lar 1S. ID¥. 73 Ke He
Sheet 1 Hooter LIGUPIGL OF Rentuoly
Fea eo
UNITED STATES DISTRICT COURT May 2 6 2028
iste] _ ia] j AT GUNG TON
Eastern District of Kentucky — Central Division at Lexington ROBERT R CAR
CLERK U.S, DISTRICT counrr
UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE
v.
) .
Damien O. Porter ) Case Number: 5:19-CR-202-DCR-01
USM Number:  23037-032
) Joyce A. Merritt
} Defendant’s Attorney
THE DEFENDANT:
pleaded guilty to count(s) 1 [DE #1]
C] pleaded nolo contendere to count(s)
which was accepted by the court.
L] was found guilty on count(s)
after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section Nature of Offense Offense Ended Count
18:922(¢)(1) Felon in Possession of a Firearm 05/12/2019 1
The defendant is sentenced as provided in pages 2 through 7 of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
[] The defendant has been found not guilty on count(s)
L] Count(s) O is are dismissed on the motion of the United States.

 

It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fincs, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

 

 

 

May 22, 2020
Date of Imposition of Judgment,-; “2
oe aapo i B é i ee
<a Ge
Si gnatureofdtidge f
f
Honorable Danny C. Reeves, Chief U.S. District Judge
Name and Title of Judge
May 26, 2020

 

Date

 
AO 2ASB (Rev. GAS eas bo-cr 0020 ;DCR-MAS Doc #: 30 Filed: 05/26/20 Page: 2 of 7 - Page ID#: 74

Sheet 2 - Imprisonment

Judgment —- Page 2 of 7
DEFENDANT: Damien O, Porter
CASE NUMBER:  5:19-CR-202-DCR-O1

IMPRISONMENT

 

 

The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total term of:

 

TWENTY-ONE (21) MONTHS

 

The federal sentence shall run consecutively with any sentence imposed in Fayette District Dkt. No. 19-F-3326 or related
Circuit Dkt. No., if indicted.

XK} The court makes the following recommendations to the Bureau of Prisons:

The defendant participate in a mental health evaluation and receive any follow-up treatment as warranted.
The defendant participate in a program working toward the completion of a GED.
The defendant participate in a job skills and/or vocational training program.

 

The defendant is remanded to the custody of the United States Marshal.

O = -‘ The defendant shall surrender to the United States Marshal for this district:
1 sat tL] am. 1 pam. on
(1 as notified by the United States Marshal.

(1 The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
1D before 2 p.m. on
[1 as notified by the United States Marshal.

[1 as notified by the Probation or Pretrial Services Office.

 

 

 

RETURN
I have executed this judgment as follows:
Defendant delivered on to
at , with a certified copy of this judgment.
UNITED STATES MARSHAL
By

 

DEPUTY UNITED STATES MARSHAL

 
Case: 5:19-cr-00202-DCR-MAS Doc #: 30 Filed: 05/26/20 Page: 3 of 7 - Page ID#: 75

AO 245B (Rev. 09/19) Judgment in a Criminal Case

Sheet 3 - Supervised Release

Judgment—Page 3 of 7

DEFENDANT: Damien O. Porter
CASE NUMBER:  5:19-CR-202-DCR-01

SUPERVISED RELEASE

Upon release from imprisonment, you will be on supervised release for a term of :

—

4.

THREE (3) YEARS

MANDATORY CONDITIONS

You must not commit another federal, state or local crime.

You must not unlawfully possess a controlled substance.
You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from

imprisonment and at least two periodic drug tests thereafter, as determined by the court.

O The above drug testing condition is suspended, based on the court’s determination that you
pose a low risk of future substance abuse. (Check, ifapplicable.)

[J You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
restitution. (Check, ifapplicable.}

You must cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

(2 You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, ef seq.) as
directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
reside, work, are a student, or were convicted of a qualifying offense. (Check, ifapplicable.)

© You must participate in an approved program for domestic violence. (Cheek, ifapplicable.)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.

 
AO 2458 Rev. Case, 5:19-cr-00202,QCR-MAS Doc #: 30 Filed: 05/26/20 Page: 4 of 7 - Page ID#: 76

Sheet 3A - Supervised Release

Judgment—-Page 4 of 7

DEFENDANT: Damien O. Porter
CASE NUMBER:  5:19-CR-202-DCR-01

STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed

because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1. You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
frame.

2, After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
when you must report to the probation officer, and you must report to the probation officer as instructed.

3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the

court or the probation officer.

You must answer truthfully the questions asked by your probation officer.

You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living

arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying

the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72

hours of becoming aware of a change or expected change.

6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
take any items prohibited by the conditions of your supervision that he or she observes in plain view.

7. You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of becoming
aware of a change or expected change.

8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
probation officer.

9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.

10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.¢., anything that was
designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).

t{. You must not act or make any agreement with a law enforcement agency fo act as a confidential human source or informant without
first getting the permission of the court.

12. Ifthe probation officer determines that you pose a risk to another person (including an organization), the probation officer may
require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
person and confirm that you have notified the person about the risk.

13. You must follow the instructions of the probation officer related fo the conditions of supervision.

ne

U.S. Probation Office Use Only

AUS. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.

Defendant's Signature Date

 

 
AO 2458 GAG 57 TOP POM ER: MAS Doc #: 30 Filed: 05/26/20 Page: 5 of 7 - Page ID#: 77

Sheet 3D - Supervised Release

Judgment—Page 5 of 7

DEFENDANT: Damien O. Porter
CASE NUMBER: — 5:19-CR-202-DCR-01

SPECIAL CONDITIONS OF SUPERVISION

1. You must abstain from the excessive use of alcohol.

 

2. You must refrain from obstructing or attempting to obstruct or tamper, in any fashion, with the
efficiency and accuracy of any prohibited substance testing required as a condition of release.

3. You must not purchase, possess, use, distribute or administer any controfled substance or
paraphernalia related to controlled substances, except as prescribed by a physician, and must not
frequent places where controlled substances are illegally sold, used, distributed or administered.
Further, you may not use or consume marijuana even if such controlled substance were to be
prescribed to you by a physician, licensed professional or other person.

4. Youmustattend and successfully complete any mental health diagnostic evaluations and treatment
or counseling programs as directed by the probation officer. You are responsible for paying the
costs of such treatment services. However, if you are unable to pay for such services during any
month in which such services are provided, you will be required to perform 10 hours of community
service during the following month. The nature of community service provided shall be determined
by the probation office.

 

5. You must submit your person, properties, homes, residences, vehicles, storage units, papers,
computers (as defined in 18 U.S.C. § 1030(e)(1)), other electronic communications or data storage
devices or media, or offices, to a search conducted by a United States probation officer. Failure
to submit to a search will be grounds for revocation of release. You must warn any other occupants
that the premises may be subject to searches pursuant to this condition.

6. You must not associate with any member, prospect, or associate member of any criminal street
gang.

 
AO 245B (Rev. SAK Moment Ha OMA RRRER-MAS Doc #: 30 Filed: 05/26/20 Page: 6 of 7 - Page ID#: 78

Sheet 5 - Criminal Monetary Penalties

Judgment —~ Page 6 of 7
DEFENDANT: Damien O. Porter

CASE NUMBER: — 5:19-CR-202-DCR-01
CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

Assessment Restitution Fine AVAA Assessment* JVTA Assessment**
TOTALS  ¢ 100.00 $ N/A $ Waived $ N/A $ NWA
C) The determination of restitution is deferred until . An Amended Judgment in a Criminal Case (AO 245C) will be entered

after such determination.

[} The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in

the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
before the United States is paid.

Name of Payee Total Loss*** Restitution Ordered Priority or Percentage
TOTALS 3 $

[] Restitution amount ordered pursuant to plea agreement $

C] The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the

fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C, § 3612(g).

[] The court determined that the defendant does not have the ability to pay interest and it is ordered that:
[] the interest requirement is waived for the Ci fine 1 © restitution.

[] the interest requirement for the Ll fine (J _ restitution is modified as follows:

* Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
** Tustice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.

*** Findings for the total amount of losses are required under Chapters 109A, 110, LLOA, and 1134 of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996,

 
AO 245B (Rev. ASE deme Gla CMARPERCR-MAS Doc #30 Filed: 05/26/20 Page: 7 of 7 - Page ID#: 79

Sheet 6 - Schedule of Payments

Judgment — Page 7 of 7

DEFENDANT: Damien O. Porter
CASE NUMBER: = 5:19-CR-202-DCR-01

SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:
A Lump sum payment of $ — 100.00 due immediately, balance due

C] not later than , or
kl inaccordancewith LOO Cc, OF DBD, OU E,or F below; or

B C1 Payment to begin immediately (may be combined with O Cc, O D,or LF below); or

C ©) Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over 4 period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after the date of this judgment; or

BD (3 Payment in equal f2.g., weekly, monthly, quarterly) installments of $ over a period of
(é.g., months or years), to commence (e.g., 30 or 60 days) after rclease from imprisonment to a

term of supervision; or

E (1 Payment during the term of supervised release will commence within (e.g. 30 or 60 days) after release from
imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

EF & Special instructions regarding the payment of criminal monetary penalties:
Criminal monetary penalties are payable to:
Clerk, U.S. District Court, Eastern District of Kentucky
101 Barr Street, Room 206, Lexington, KY 40507

INCLUDE CASE NUMBER WITH ALL CORRESPONDENCE

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during the
period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Burcau of Prisons’ Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

f] Joint and Several

Case Number
Defendant and Co-Defendant Names
(including defendant number} Total Amount Joint and Several Amount Corresponding Payee, if appropriate

[] The defendant shall pay the cost of prosecution,

[] ‘The defendant shall pay the following court cost(s):

x

The defendant shall forfeit the defendant’s interest in the following property to the United States:
Diamondback Model DB, 9mm caliber pistol, bearing serial number YD8408, and ammunition.

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment,
(5) fine principal, (6) fine interest, (7) community restitution, (8) VTA assessment, (9) penalties, and (10) costs, including cost of
prosecution and court costs.

 
